Case 1-24-40/00-Jmm bDocl Filed Od/loiz4 Entered Uc/lo/24 Oyicoilo

UCR CR Gi MUR Cin oy

United States Bankruptcy Court for the:

Cast ¢ rm) District of New ok

Giate)

cn Oo: 43
Case number (if known): Chapter ef 77H Feo Ib A © | 4 Check if thie is an

amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, instructions for Bankruptcy Forms for Non-individuals, is available.

1 Debtor's name Shy 9 Kb ally hi, dress LEC.

2. All other names debtor used

in the last 8 years

Include any assumed names,
trade names, and doing business

as hames

Identification Number (EIN)

3. Debtor’s federal Employer ¢ | F339 DE ay

4. Debtor’s address Principal place of business Mailing address, if different from principal place
- J of business
Number Street Number Street
ee
/ P.O. Box
amarce pf 1433
City State ZIP Code City State ZIP Code

Location of principal assets, if different from

he CM s . principal place of business

Number Street

City State ZIP Code

5. Debtor’s website (URL)

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6. Type of debtor OX corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
() Partnership (excluding LLP}
C) other. Specify:

7. Describe debtor’s business A. Check one:

C] Health Care Business (as defined in 11 U.S.C. § 104(27A))
AY single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

J Railroad (as defined in 41 U.S.C. § 101(44))
C) Stockbroker (as defined in 11 U.S.C. § 101(53A))
a Commodity Broker (as defined in 11 U.S.C. § 101(6))
CJ Clearing Bank (as defined in 11 U.S.C. § 781(3))
C) None of the above

B. Check all that apply:

Q] Tax-exempt entity (as described in 26 U.S.C. § 501)

2A investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

() Investment advisor (as defined-in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http/www.uscourts.gov/four-digit-national-association-naics-codes .

Loe

8. Under which chapter of the Check one:
Bankruptcy Code is the

debtor filing? Cl Chapter 7

CQ Chapter 9
Adeb h ib pr Chapter 11. Check alf that apply:

to isa“ iness

debtor” must chock tho first oub Q) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
box. A debtor as defined in aggregate noncontingent liquidated debts (excluding debts owed to insiders or
§ 1182(1) who elects to proceed affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
under subchapter V of chapter 11 recent balance sheet, statement of operations, cash-flow statement, and federal
(whether or not the debtor is a income tax return or if any of these documents do not exist, follow the procedure in
“small business debtor") must 11 U.S.C. § 1416(1)(B).
check the second sub-box. C} The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate

noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

Oa plan is being filed with this petition.

be Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C] The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Affachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

C2 The debior is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

Chapter 12

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor ¢ hi O A Ki, ali hy DP bnwox Case number (if known),
Neme 7 S Vv .
9. Were prior bankruptcy cases [] No
filed by or against the debtor

within the last 8 years? Wes. District CUI i v4 When ) 20L-Ioase numberf 25 ~ GB! F nm

Mip | DB IYYYY

lf more than 2 cases, attach a a
separate list. District When Case number
MM/ DD/YYYY

10. Are any bankruptcy cases 24 No
pending or being filed by a
business partner or an Ld Yes. Debtor Relationship
affiliate of the debtor? District When

List all cases. If more than 1, MM / DD /YYYY
attach a separate list. Case number, if known

11. Why is the case filed in this _, Check aif that apply:
district? . cp . _ ue te
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

QA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have --EFKio
possession of any real

property or personal property

that needs immediate Why does the property need immediate attention? (Check aif that apply.)
attention?

C) Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

C) it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

LJ Itneeds to be physically secured or protected from the weather.

(CJ it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

(2 Other

Where is the property?

Number Street

City State ZIP Cade

Is the property insured?

C) No

QI) Yes. insurance agency

Contact name

Phone

mm Statistical and administrative information

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13. Debtor’s estimation of Check one:

available funds C) Funds will be available for distribution to unsecured creditors.

After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of
creditors

1 5,001-10,000

(J 1,000-5,000

1
50-99

C 25,001-50,000

(J 50,001-100,000

C2 100-199 ( 10,001-25,000 QO More than 100,000
(2 200-999
C2) $0-$50,000 LJ $1,000,001-$10 million C) $500,000,001-31 billion

15. Estimated assets 2 $50,001-$100,000

(3 $100,001-$500,000
$500,001-$1 million

C) $0-$50,000
C) $60,001-$100,000

100,001-$500,000
$500,001-$1 miflion

16. Estimated liabilities

C) $10,000,001-$50 million
CY $50,000,001-$100 million
QO $100,000,001-$500 million

CJ $1,000,001-$10 million

(2 $10,000,001-$50 miltion
C2 $50,000,001-$100 million
C} $100,000,001-$500 million

[2 $1,000,000,001-$10 billion
(2 $10,000,000,001-$50 billion
CJ More than $50 billion

(3 $500,000,001-$1 billion

LI $1,000,000,001-$10 billion
(2 $10,000,000,001-$50 billion
CJ More than $50 billion

a Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of

debtor petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty pf perjary that the foregoing is true and correct.

UY,

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

y 7
Signature of autforized representative of debtor

Titl f

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Official Form. 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

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page 4
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Debtor Case number (i known},

Nams.

18, Signature of attorney x Date

Signature of altorney for debtor MM /DD /YYYY

Printed name A

Firm name LO

Number Street 4

City Lo State ZIP Code

Contact phone Email address

Bar number SL State

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In RE: X
Case No.:
Shio4 fealty Lydels Chapter: lf
SOR
Debtor(s)
X

VERIFICATION OF CREDIT METRIX/ LIST OF CREDITORS

The undersigned debtor(s) or attorneys for the debtor(s) hereby certifies that the creditor
matrix/ list of creditors submitted herein is true and correct to the best of his or her knowledge.

me Oaltelory

ah folate.

Debtor

Joint Debtor

Attorney for Debtor
Case 1-24-40/00-Jmm bDocl Filed Od/loiz4 Entered Uciio/24 Oyicoilo

List of Creditors

IAS Kant National proces Athlon
fo Schiller Plapp Lefkowre 4 dledzel LP
Po Monf gamer St fe] 20

fy ef ory, NJ) OF 302
Case 1-24-40/00-Jmm DoCl Filed Od/loiz4 Entered Ucilof/c4 Oyicoilo

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

in ref’ | < v4 (c bac] fart ev LCase No,
. tcc

Chapter

Debtor(s)
x

AFFIRMATION OF FILER(S)
All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following

information:

Name of Filer: KE wiV2eT HW Soa pfhn

Address: TW Pier Act yp Shek pyres
Email Address:

Phone Number; (34¢7)2/7 LLSB-

Name of Debtor(s):

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

I PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING:

I DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

| FEE RECEIVED:
I WAS NOT PAID.

I WAS PAID.
Amount Paid: $ O

I/We hereby affirm the information above under the penalty of perjury.

otek fi/by L/L

Filer’s Signature

